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Attorney for Defendant




                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,                              Case No. 1:21-cr-00492-RDM

                                    Plaintiff,           NOTICE OF ATTORNEY
                                                         REASSIGNMENT
                      v.

  JEREMY GRACE,

                                Defendant.

       Please be advised that the above-captioned case has been reassigned from Assistant Federal

Public Defender Gerald M. Needham to Assistant Federal Public Defender C. Renee Manes.

Please withdraw Mr. Needham from further service and electronic notices in this case.

       Respectfully submitted this 4th day of May, 2022.


                                                 Isl C. Renee Manes
                                             C. Renee Manes
                                             Attorney for Defendant
Approv~

Lisa Hay
Federal Public Defender

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